

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. PD-1469-12 &amp; PD-1470-12





TADASHA DONSHEE JONES, Appellant


                  




v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE TWELFTH COURT OF APPEALS


SMITH COUNTY





		Per curiam.  Keasler and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i) and
9.4(i)(2)(D) because it does not contain a copy of the opinion of the court of appeals and the
petition exceeds fifteen pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

Filed: February 6, 2013

Do Not Publish


